              Case 23-18121-VFP                   Doc 1     Filed 09/18/23 Entered 09/18/23 13:24:54                               Desc Main
                                                            Document     Page 1 of 35

Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MCM Mechanical Corp.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1248 Sussex Turnpike C-2

                                  Randolph, NJ 07869
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 23-18121-VFP                     Doc 1        Filed 09/18/23 Entered 09/18/23 13:24:54                                      Desc Main
                                                                 Document     Page 2 of 35
Debtor    MCM Mechanical Corp.                                                                          Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2382

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
             Case 23-18121-VFP                   Doc 1       Filed 09/18/23 Entered 09/18/23 13:24:54                                  Desc Main
                                                             Document     Page 3 of 35
Debtor   MCM Mechanical Corp.                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
              Case 23-18121-VFP                  Doc 1      Filed 09/18/23 Entered 09/18/23 13:24:54                                 Desc Main
                                                            Document     Page 4 of 35
Debtor   MCM Mechanical Corp.                                                                      Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        September 18, 2023
                                                  MM / DD / YYYY


                             X /s/       George Barnard                                                    George Barnard
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Russell Warren Jr.                                                      Date    September 18, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Russell Warren Jr.
                                 Printed name

                                 The Law Office of Russell S Warren Jr
                                 Firm name

                                 473 Sylvan Avenue
                                 Englewood Cliffs, NJ 07632
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (201) 503-0773               Email address      mail@rwarrenlaw.com

                                  NJ
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
            Case 23-18121-VFP                         Doc 1          Filed 09/18/23 Entered 09/18/23 13:24:54                   Desc Main
                                                                     Document     Page 5 of 35




 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           September 18, 2023                     X /s/ George Barnard
                                                                       Signature of individual signing on behalf of debtor

                                                                        George Barnard
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Case 23-18121-VFP                                    Doc 1            Filed 09/18/23 Entered 09/18/23 13:24:54                                                            Desc Main
                                                                                   Document     Page 6 of 35
 Fill in this information to identify the case:

 Debtor name            MCM Mechanical Corp.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            12,659.31

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            12,659.31


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            12,894.56

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           180,712.20


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             193,606.76




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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            Case 23-18121-VFP                         Doc 1          Filed 09/18/23 Entered 09/18/23 13:24:54                          Desc Main
                                                                     Document     Page 7 of 35
 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Valley National Bank                                    Payroll Checking                0650                                       $753.96




           3.2.     Valley National Bank                                    Checking                        9619                                       $565.35



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $1,319.31
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                 Desc Main
                                                                      Document     Page 8 of 35
 Debtor         MCM Mechanical Corp.                                                               Case number (If known)
                Name


           11a. 90 days old or less:                                  2,993.00   -                           2,993.00 = ....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                   666.40    -                             666.40 = ....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11a. 90 days old or less:                                  2,112.00   -                           2,112.00 = ....                   $0.00
                                              face amount                            doubtful or uncollectible accounts




           11b. Over 90 days old:                                      300.00    -                            300.00 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    21,231.51   -                        21,231.51 =....                      $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    33,596.31   -                        33,596.31 =....                      $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,050.00   -                          2,050.00 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      529.85    -                            529.85 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      356.56    -                            356.56 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    13,234.07   -                        13,234.07 =....                      $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,527.19   -                          2,527.19 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      125.00    -                            125.00 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      490.17    -                            490.17 =....                     $0.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54               Desc Main
                                                                      Document     Page 9 of 35
 Debtor         MCM Mechanical Corp.                                                               Case number (If known)
                Name


           11b. Over 90 days old:                                      318.86    -                            318.86 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                    12,300.00   -                        12,300.00 =....                    $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     5,730.08   -                          5,730.08 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,834.34   -                          2,834.34 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      275.00    -                            275.00 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     3,994.25   -                          3,994.25 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,161.80   -                          2,161.80 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     3,000.00   -                          3,000.00 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     2,139.01   -                          2,139.01 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     1,200.00   -                          1,200.00 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      241.07    -                            241.07 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                     1,456.19   -                          1,456.19 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts



           11b. Over 90 days old:                                      485.93    -                            485.93 =....                   $0.00
                                              face amount                            doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                        Desc Main
                                                                     Document      Page 10 of 35
 Debtor         MCM Mechanical Corp.                                                                 Case number (If known)
                Name


           11b. Over 90 days old:                                    1,517.50   -                             1,517.50 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     890.00    -                               890.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     300.00    -                               300.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     250.00    -                               250.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     880.00    -                               880.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     250.00    -                               250.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     250.00    -                               250.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                    1,750.00   -                             1,750.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



           11b. Over 90 days old:                                     400.00    -                               400.00 =....                            $0.00
                                              face amount                              doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                                   $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last               Net book value of         Valuation method used   Current value of
                                                     physical inventory             debtor's interest         for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 4
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54               Desc Main
                                                                     Document      Page 11 of 35
 Debtor         MCM Mechanical Corp.                                                          Case number (If known)
                Name

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Fire Sprinklers and
           miscellaneous parts                                                          $1,000.00    Comparable sale                     $1,000.00


           Fire Sprinklers and
           miscellaneous parts
           (Sprinkler heads, etc)                                                           $0.00    Comparable sale                     $1,000.00



 23.       Total of Part 5.
                                                                                                                                     $2,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Three (3) work stations which include Desk and
           chairs                                                                           $0.00                                              $0.00


           Six (6) 4 foot horizontal file cabinets
           $25.00 per cabinet                                                               $0.00                                          $150.00


           Three (3) standard size file cabinets
           $30.00 each                                                                      $0.00                                            $90.00


           Stand Alone Book Shelves
           2 wood - $50.00 each
           2 metal $50.00 each                                                              $0.00                                          $200.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54               Desc Main
                                                                     Document      Page 12 of 35
 Debtor         MCM Mechanical Corp.                                                          Case number (If known)
                Name

           Break Room Table (Round) with
           four (4) chairs                                                                  $0.00                                            $50.00


           Warehouse Steel racks                                                            $0.00                                        $2,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers (2) Age - 5 + years old                                                $0.00                                          $200.00


           Laser Printer
           4 + years old                                                                    $0.00                                          $200.00


           Telephone System
           Yealink Four (4) extensions                                                      $0.00                                          $200.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $3,090.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2011 Ford E-250 Van
                     Mileage 240,534 + miles                                            Unknown      Comparable sale                     $1,500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Miscellaneous HVAC Supplies and Parts                                            $0.00                                        $1,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54        Desc Main
                                                                     Document      Page 13 of 35
 Debtor         MCM Mechanical Corp.                                                         Case number (If known)
                Name



            Electric Scissor Lift                                                           $0.00    N/A                        $2,000.00


            Lincoln Welding Machine                                                         $0.00                               $1,000.00


            Two (2) Miscellaneous tool boxes - Knack                                        $0.00                                 $750.00


            Cooper PVC and Black Pipe Pex Victaulic Fitting
            and Miscellaneous pipes                                                         $0.00                                     $0.00



 51.        Total of Part 8.
                                                                                                                           $6,250.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                       page 7
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             Case 23-18121-VFP                            Doc 1          Filed 09/18/23 Entered 09/18/23 13:24:54                                         Desc Main
                                                                        Document      Page 14 of 35
 Debtor          MCM Mechanical Corp.                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $1,319.31

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $2,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $3,090.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                       $6,250.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $12,659.31           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $12,659.31




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 8
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                   Desc Main
                                                                     Document      Page 15 of 35
 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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             Case 23-18121-VFP                        Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                               Desc Main
                                                                     Document      Page 16 of 35
 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                             Check if this is an
                                                                                                                                                             amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                               Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $12,894.56          $12,894.56
           Internal Revenue Service Small                            Check all that apply.
                                                                        Contingent
           Business
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           February 25, 2019                                         Taxes Small Business
           Last 4 digits of account number 8732                      Is the claim subject to offset?
                                                                         No
           Specify Code subsection of PRIORITY
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $2,339.55
           AAron & Company
                                                                                       Contingent
           PO Box 52500                                                                Unliquidated
           Newark, NJ 07101                                                            Disputed
           Date(s) debt was incurred December 1, 2015                              Basis for the claim: Trade debt
           Last 4 digits of account number MCM                                     Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                     $6,518.95
           American Express
                                                                                       Contingent
           PO Box 981535                                                               Unliquidated
           El Paso, TX 79998                                                           Disputed
           Date(s) debt was incurred                                               Basis for the claim: Trade debt
           Last 4 digits of account number                                         Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                       $726.75
           Atlantic Kritch
                                                                                       Contingent
           1608 Wyckoff Road                                                           Unliquidated
           Farmingdale, NJ 07727                                                       Disputed
           Date(s) debt was incurred May 5, 2017                                   Basis for the claim: Trade debt
           Last 4 digits of account number ical                                    Is the claim subject to offset?      No         Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                               page 1 of 5
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                     Desc Main
                                                                     Document      Page 17 of 35
 Debtor       MCM Mechanical Corp.                                                                    Case number (if known)
              Name


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,400.00
          City Erectors, Inc.
                                                                                Contingent
          44 Fairfield Place                                                    Unliquidated
          Caldwell, NJ 07006                                                    Disputed
          Date(s) debt was incurred July 26, 2023                            Basis for the claim: Trade debt
          Last 4 digits of account number ical                               Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,243.83
          Cooper Electric Supply Co.
                                                                                Contingent
          444 Route 46                                                          Unliquidated
          Fairfield, NJ 07004                                                   Disputed
          Date(s) debt was incurred December 1, 2015                         Basis for the claim: Trade debt
          Last 4 digits of account number ical                               Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,342.49
          Delta Mechanical Systems, Inc.
                                                                                Contingent
          1192 Goffle Road                                                      Unliquidated
          Hawthorne, NJ 07506                                                   Disputed
          Date(s) debt was incurred May 25, 2017                             Basis for the claim: Trade debt
          Last 4 digits of account number 1375                               Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,720.89
          Dua Electrical Contractors
                                                                                Contingent
          177 Fornelius Avenue                                                  Unliquidated
          Clifton, NJ 07013                                                     Disputed
          Date(s) debt was incurred December 22, 2015                        Basis for the claim: Trade debt
          Last 4 digits of account number ical                               Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.60
          Enterprise HVAC Supply                                                Contingent
                                                                                Unliquidated
          Unknown                                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,150.00
          Enterprise Sheet Metal Works LLC
                                                                                Contingent
          701 Main Street                                                       Unliquidated
          Belleville, NJ 07109                                                  Disputed
          Date(s) debt was incurred September 21, 2016                       Basis for the claim: Trade debt
          Last 4 digits of account number ical                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,409.60
          Federated Insurance
                                                                                Contingent
          PO Box 95231                                                          Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred July 13, 2023                            Basis for the claim: Trade debt
          Last 4 digits of account number 7547                               Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,032.54
          Horizon
                                                                                Contingent
          PO Box 10130                                                          Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred June 1, 2023                             Basis for the claim: Trade debt
          Last 4 digits of account number 1967                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 5
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                     Desc Main
                                                                     Document      Page 18 of 35
 Debtor       MCM Mechanical Corp.                                                                    Case number (if known)
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $102.51
          Jersey Central Power & Light
                                                                                Contingent
          PO Box 3687                                                           Unliquidated
          Akron, OH 44309                                                       Disputed
          Date(s) debt was incurred July 2023                                Basis for the claim: Utilities
          Last 4 digits of account number 7253                               Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,674.36
          Luce Schwab & Kase, Inc.
          9 Gloria Lane
                                                                                Contingent
          Box 779                                                               Unliquidated
          Caldwell, NJ 07007                                                    Disputed
          Date(s) debt was incurred July 8, 2021                             Basis for the claim: Utilities
          Last 4 digits of account number 0828                               Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,450.00
          Malanga Construction Co., Inc.
                                                                                Contingent
          10-B Madison Road                                                     Unliquidated
          Fairfield, NJ 07004                                                   Disputed
          Date(s) debt was incurred November 12, 2015                        Basis for the claim: Trade debt
          Last 4 digits of account number 5137                               Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $334.31
          McMaster-Carr
                                                                                Contingent
          PO Box 7690                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred January 11, 2016                         Basis for the claim: Trade debt
          Last 4 digits of account number 0900                               Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $580.73
          Metro Supply Company
                                                                                Contingent
          12 Andrews Drive                                                      Unliquidated
          Little Falls, NJ 07424                                                Disputed
          Date(s) debt was incurred January 21, 2016                         Basis for the claim: Trade debt
          Last 4 digits of account number 8834                               Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,459.16
          Mountain Ridge Business Park LLC
          119 Littleton Road
                                                                                Contingent
          Suite 100                                                             Unliquidated
          Parsippany, NJ 07054                                                  Disputed
          Date(s) debt was incurred April 2023                               Basis for the claim: Trade debt
          Last 4 digits of account number ical                               Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,081.73
          MV Controls, Inc.
          111 Canfield Avenue
                                                                                Contingent
          Suite A-13                                                            Unliquidated
          Randolph, NJ 07869                                                    Disputed
          Date(s) debt was incurred February 6, 2012                         Basis for the claim: Trade debt
          Last 4 digits of account number 5990                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 5
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                     Desc Main
                                                                     Document      Page 19 of 35
 Debtor       MCM Mechanical Corp.                                                                    Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $54.97
          NJ Natural Gas
          1415 Wyckoff Road
                                                                                Contingent
          PO Box 1464                                                           Unliquidated
          Belmar, NJ 07719                                                      Disputed
          Date(s) debt was incurred May 1, 2023                              Basis for the claim: Utilities
          Last 4 digits of account number 6123                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $318.67
          Optimum
                                                                                Contingent
          12-20 River Road                                                      Unliquidated
          Fair Lawn, NJ 07410                                                   Disputed
          Date(s) debt was incurred July, 2023                               Basis for the claim: Utilities
          Last 4 digits of account number 4038                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,614.99
          Praxair Distribution, Inc.
                                                                                Contingent
          PO Box 382000                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred July 3, 2016                             Basis for the claim: Trade debt
          Last 4 digits of account number 7886                               Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $335.55
          SH Technical Services, Inc.
                                                                                Contingent
          PO Box 7820                                                           Unliquidated
          Edison, NJ 08818                                                      Disputed
          Date(s) debt was incurred October 3, 2016                          Basis for the claim: Trade debt
          Last 4 digits of account number 9250                               Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,306.44
          Tim and Karen Medical                                                 Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred May 2023
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $658.89
          Verizon
                                                                                Contingent
          PO Box 408                                                            Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred July 28, 2023                            Basis for the claim: Utilities
          Last 4 digits of account number 0001                               Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,436.65
          Viking Supply Net
                                                                                Contingent
          2333 International Street                                             Unliquidated
          Columbus, OH 43228                                                    Disputed
          Date(s) debt was incurred August 19, 2016                          Basis for the claim: Trade debt
          Last 4 digits of account number 2118                               Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,200.00
          Weidener Construction
                                                                                Contingent
          9-12 12th Street                                                      Unliquidated
          Fair Lawn, NJ 07410                                                   Disputed
          Date(s) debt was incurred February 28, 2021                        Basis for the claim: Trade debt
          Last 4 digits of account number nown                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 5
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             Case 23-18121-VFP                        Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                     Desc Main
                                                                     Document      Page 20 of 35
 Debtor       MCM Mechanical Corp.                                                                    Case number (if known)
              Name

 3.27      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,919.04
           White & Shauger Inc.
           435 Straight Street
                                                                                Contingent
           PO Box 2695                                                          Unliquidated
           Paterson, NJ 07509                                                   Disputed
           Date(s) debt was incurred January 14, 2016                        Basis for the claim: Trade debt
           Last 4 digits of account number M500                              Is the claim subject to offset?       No        Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        12,894.56
 5b. Total claims from Part 2                                                                            5b.   +    $                       180,712.20

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                              5c.       $                           193,606.76




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                     Desc Main
                                                                     Document      Page 21 of 35
 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Tenant Lease for 1248
             lease is for and the nature of               Sussex Turnpike,
             the debtor's interest                        Building C,
                                                          Unit 2, Randolph, NJ
                                                          07869
                 State the term remaining                 5 MONTHS                    Mountain Ridge Business Park
                                                                                      333 Route 46
             List the contract number of any                                          Suite 201
                   government contract                                                Mountain Lakes, NJ 07046




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                 Desc Main
                                                                     Document      Page 22 of 35
 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                       Name                       Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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              Case 23-18121-VFP                       Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                             Desc Main
                                                                     Document      Page 23 of 35



 Fill in this information to identify the case:

 Debtor name         MCM Mechanical Corp.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For year before that:                                                                       Operating a business                               $848,571.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                               $861,885.00
       From 01/01/2020 to 12/31/2020
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               American Express                                            6/19/2023                        $35,246.65
               PO Box 98135                                                6/30/20237/1                                          Unsecured loan repayments
               El Paso, TX 79998                                           9/2023                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

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              Case 23-18121-VFP                       Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                 Desc Main
                                                                     Document      Page 24 of 35
 Debtor       MCM Mechanical Corp.                                                                      Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.2.                                                                                                                           Secured debt
               Dodge Industtries                                           6/28/2023                          $9,280.00
               1061 Holland Road                                                                                                      Unsecured loan repayments
               Simpsonville, SC 29681                                                                                                 Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address
       7.1.    Mountain Ridge Business Park                     Contract                   Morris- Special Civil Park -                    Pending
               vs. MCM Mechanical Corp.Int                                                 Landlord Tenant                                 On appeal
               MRS-LT-001071-23                                                            56 Washington Street                            Concluded

                                                                                           Morristown, NJ 07963


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2

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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                             Desc Main
                                                                     Document      Page 25 of 35
 Debtor        MCM Mechanical Corp.                                                                        Case number (if known)




           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                               lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates           Total amount or
                the transfer?                                                                                                                           value
                Address
       11.1.    Englewood Cliffs
                473 Sylvan Avenue
                Englewood Cliffs, NJ 07632                           Attorney Fee                                                                    $3,500.00

                Email or website address
                mail@rwarrenlaw.com

                Who made the payment, if not debtor?
                Paid for by George Barnard, Officer of
                Company



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers        Total amount or
                                                                                                                        were made                       value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                     Date transfer       Total amount or
               Address                                          payments received or debts paid in exchange                was made                     value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 3

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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                            Desc Main
                                                                     Document      Page 26 of 35
 Debtor      MCM Mechanical Corp.                                                                       Case number (if known)




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4

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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                 Desc Main
                                                                     Document      Page 27 of 35
 Debtor      MCM Mechanical Corp.                                                                       Case number (if known)



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5

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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                           Desc Main
                                                                     Document      Page 28 of 35
 Debtor      MCM Mechanical Corp.                                                                       Case number (if known)



              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       George Barnard                                208 Teaneck Road                                     President and Sole Member of          100
                                                     Barnegat, NJ 08005                                   MCM Mechanical Corp.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6

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            Case 23-18121-VFP                         Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                   Desc Main
                                                                     Document      Page 29 of 35
 Debtor      MCM Mechanical Corp.                                                                       Case number (if known)



 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          September 18, 2023

 /s/    George Barnard                                                    George Barnard
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 7

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            Case 23-18121-VFP                                 Doc 1           Filed 09/18/23 Entered 09/18/23 13:24:54                                                Desc Main
                                                                             Document      Page 30 of 35
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                        District of New Jersey
 In re       MCM Mechanical Corp.                                                                                                                  Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  3,500.00
             Prior to the filing of this statement I have received .......................................................                     $                  3,500.00
             Balance Due ...................................................................................................................   $                      0.00

2.     $    338.00          of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):               Paid for by George Barnard, Officer of Company

4.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
               agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
               liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     September 18, 2023                                                                                   /s/ Russell Warren Jr.
     Date                                                                                                 Russell Warren Jr.
                                                                                                          Signature of Attorney
                                                                                                          The Law Office of Russell S Warren Jr
                                                                                                          473 Sylvan Avenue
                                                                                                          Englewood Cliffs, NJ 07632
                                                                                                          (201) 503-0773 Fax:
                                                                                                          mail@rwarrenlaw.com
                                                                                                          Name of law firm




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            Case 23-18121-VFP                        Doc 1            Filed 09/18/23 Entered 09/18/23 13:24:54        Desc Main
                                                                     Document      Page 31 of 35




                                                             United States Bankruptcy Court
                                                                         District of New Jersey
 In re      MCM Mechanical Corp.                                                                     Case No.
                                                                                    Debtor(s)        Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        September 18, 2023                                         /s/ George Barnard
                                                                          George Barnard/President
                                                                         Signer/Title




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Case 23-18121-VFP   Doc 1    Filed 09/18/23 Entered 09/18/23 13:24:54   Desc Main
                            Document      Page 32 of 35


                            AAron & Company
                            PO Box 52500
                            Newark, NJ 07101


                            American Express
                            PO Box 981535
                            El Paso, TX 79998


                            Atlantic Kritch
                            1608 Wyckoff Road
                            Farmingdale, NJ 07727


                            City Erectors, Inc.
                            44 Fairfield Place
                            Caldwell, NJ 07006


                            Cooper Electric Supply Co.
                            444 Route 46
                            Fairfield, NJ 07004


                            Delta Mechanical Systems, Inc.
                            1192 Goffle Road
                            Hawthorne, NJ 07506


                            Dua Electrical Contractors
                            177 Fornelius Avenue
                            Clifton, NJ 07013


                            Enterprise HVAC Supply
                            Unknown


                            Enterprise Sheet Metal Works LLC
                            701 Main Street
                            Belleville, NJ 07109


                            Federated Insurance
                            PO Box 95231
                            Chicago, IL 60694


                            Horizon
                            PO Box 10130
                            Newark, NJ 07101


                            Internal Revenue Service Small Business


                            Jersey Central Power & Light
                            PO Box 3687
                            Akron, OH 44309


                            Luce Schwab & Kase, Inc.
                            9 Gloria Lane Box 779
                            Caldwell, NJ 07007
Case 23-18121-VFP   Doc 1    Filed 09/18/23 Entered 09/18/23 13:24:54   Desc Main
                            Document      Page 33 of 35


                            Malanga Construction Co., Inc.
                            10-B Madison Road
                            Fairfield, NJ 07004


                            McMaster-Carr
                            PO Box 7690
                            Chicago, IL 60680


                            Metro Supply Company
                            12 Andrews Drive
                            Little Falls, NJ 07424


                            Mountain Ridge Business Park
                            333 Route 46 Suite 201
                            Mountain Lakes, NJ 07046


                            Mountain Ridge Business Park LLC
                            119 Littleton Road Suite 100
                            Parsippany, NJ 07054


                            MV Controls, Inc.
                            111 Canfield Avenue Suite A-13
                            Randolph, NJ 07869


                            NJ Natural Gas
                            1415 Wyckoff Road PO Box 1464
                            Belmar, NJ 07719


                            Optimum
                            12-20 River Road
                            Fair Lawn, NJ 07410


                            Praxair Distribution, Inc.
                            PO Box 382000
                            Pittsburgh, PA 15250


                            SH Technical Services, Inc.
                            PO Box 7820
                            Edison, NJ 08818


                            Tim and Karen Medical


                            Verizon
                            PO Box 408
                            Newark, NJ 07101


                            Viking Supply Net
                            2333 International Street
                            Columbus, OH 43228


                            Weidener Construction
                            9-12 12th Street
                            Fair Lawn, NJ 07410
Case 23-18121-VFP   Doc 1    Filed 09/18/23 Entered 09/18/23 13:24:54   Desc Main
                            Document      Page 34 of 35


                            White & Shauger Inc.
                            435 Straight Street PO Box 2695
                            Paterson, NJ 07509
             Case 23-18121-VFP                             Doc 1        Filed 09/18/23 Entered 09/18/23 13:24:54                Desc Main
                                                                       Document      Page 35 of 35



                                                                     United States Bankruptcy Court
                                                                           District of New Jersey
  In re      MCM Mechanical Corp.                                                                                Case No.
                                                                                       Debtor(s)                 Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MCM Mechanical Corp. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  September 18, 2023                                                     /s/ Russell Warren Jr.
 Date                                                                    Russell Warren Jr.
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for MCM Mechanical Corp.
                                                                         The Law Office of Russell S Warren Jr
                                                                         473 Sylvan Avenue
                                                                         Englewood Cliffs, NJ 07632
                                                                         (201) 503-0773 Fax:
                                                                         mail@rwarrenlaw.com




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